
Ch. Justice.
As to the notice, it was properly given by the attorney J. S. llalsted. It was not necessary to be given by the attorney in the original suit. The parlies interested may employ the same, or a different attorney to move for an assessment upon the sheriff’s bond.
The notice was also properly given to the sheriff and his sureties, and it would not have been proper to have given it to the attorney; ibis is a new and substantial proceeding after the determination of the suit. This point was decided iti a case recently before us from Somerset. In Flommerfelt v. Zellers, 2 Halst. 31, an application was made for an attachment against a person, who disobeyed a rule to stay waste. The notice was given to the party, against which an objection was raised, but the court said it had been properly given.
As to the assignment of breaches upon the record, it is the *192uniform practice to assess the damages in this way. No instance can be found of an assignment of breaches upon sheriff’s bond.
Ford, J.
As to the assignment of breaches, it appears to me that the breaches have been sufficiently assigned by the notice given to the defendant and his sureties.
Assessment ordered.
